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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re
                                                                      Chapter 11
CENTURY 21 DEPARTMENT STORES LLC,
et al.,                                                               Case No. 20-12097 (SCC)

                 Debtors. 1                                           (Jointly Administered)


                  AMENDED STATEMENT OF FINANCIAL AFFAIRS FOR
                  CENTURY PARAMUS REALTY, LLC (CASE NO 20-12107)




1
         The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of each
Debtor’s federal tax identification number, as applicable, are Century 21 Department Stores LLC (4073), L.I. 2000,
Inc. (9619), C21 Department Stores Holdings LLC (8952), Giftco 21 LLC (0347), Century 21 Fulton LLC (4536),
C21 Philadelphia LLC (2106), Century 21 Department Stores of New Jersey, L.L.C. (1705), Century 21 Gardens of
Jersey, LLC (9882), C21 Sawgrass Blue, LLC (8286), C21 GA Blue LLC (5776), and Century Paramus Realty LLC
(5033). The Debtors’ principal place of business is: 22 Cortlandt Street, 5th Floor, New York, NY 10007.
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                                                                      Pg 2 of 13
  Fill in this information to identify the case:

  Debtor name: Century Paramus Realty, LLC

  United States Bankruptcy Court for the: Southern District of New York
                                                                                                                                                    Check if this is an
  Case number: 20-12107
                                                                                                                                                    amended ling


O cial Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/19


The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

Part 1:   Income

1. Gross revenue from business
     None

 Identify the beginning and ending dates of the debtor’s scal year, which may be        Sources of revenue                                        Gross revenue
 a calendar year                                                                        Check all that apply                                      (before deductions and
                                                                                                                                                  exclusions)


From the beginning of           From                      to     Filing Date               Operating a business
the scal year to ling
date:                                                                                      Other




For prior year:                 From                      to                               Operating a business

                                                                                           Other




For the year before that:       From                      to                               Operating a business

                                                                                           Other




2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each
source and the gross revenue for each separately. Do not include revenue listed in line 1.
    None

                                                                                        Description of sources of revenue                         Gross revenue from
                                                                                                                                                  each source
                                                                                                                                                  (before deductions and
                                                                                                                                                  exclusions)

From the beginning of          From                       to     Filing Date
the scal year to ling
date:

For prior year:                From                       to



For the year before that:      From                       to
Debtor    Century Paramus Realty, LLC______________________________________________                   Case number (if known) 20-12107________________________________________
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  Part 2:    List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before ling this case
  List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before ling this case unless the
  aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases
   led on or after the date of adjustment.)
         None

   Creditor’s name and address                                 Dates                             Total amount or value      Reasons for payment or transfer
                                                                                                                            Check all that apply

  3.1                                                                                                                           Secured debt

                                                                                                                                Unsecured loan repayments

                                                                                                                                Suppliers or vendors

                                                                                                                                Services

                                                                                                                                Other




  4. Payments or other transfers of property made within 1 year before ling this case that bene ted any insider
  List payments or transfers, including expense reimbursements, made within 1 year before ling this case on debts owed to an insider or guaranteed or cosigned by an
  insider unless the aggregate value of all property transferred to or for the bene t of the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3
  years after that with respect to cases led on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include o cers, directors, and anyone in
  control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; a liates of the debtor and insiders of such a liates; and any
  managing agent of the debtor. 11 U.S.C. § 101(31).
         None

   Insider’s name and address                                  Dates                             Total amount or value      Reasons for payment or transfer

  4.1                                                                                                                           Secured debt

                                                                                                                                Unsecured loan repayments

            Relationship to debtor                                                                                              Suppliers or vendors

                                                                                                                                Services

                                                                                                                                Other



  5. Repossessions, foreclosures, and returns
  List all property of the debtor that was obtained by a creditor within 1 year before ling this case, including property repossessed by a creditor, sold at a foreclosure sale,
  transferred by a deed in lieu of foreclosure, or returned to the seller.
  Do not include property listed in line 6.
         None

   Creditor’s name and address                                 Description of the property                                  Date                            Value of property

  5.1




  6. Setoffs
  List any creditor, including a bank or nancial institution, that within 90 days before ling this case set off or otherwise took anything from an account of the debtor without
  permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         None

   Creditor’s name and address                                 Description of the action creditor took                      Date action was taken           Amount

  6.1

                                                               Last 4 digits of account number
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  Part 3:    Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
  List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—within 1
  year before ling this case.
         None

   Case title                                      Nature of case                             Court or agency’s name and address                          Status of case

  7.1       Name                                                                              Name                                                            Pending
                                                                                                                                                              On appeal
            Case number                                                                       Street                                                          Concluded

                                                                                              City                                 State   Zip



  8. Assignments and receivership
  List any property in the hands of an assignee for the bene t of creditors during the 120 days before ling this case and any property in the hands of a receiver, custodian, or
  other court-appointed o cer within 1 year before ling this case.
         None

   Custodian’s name and address                                 Description of the property                                  Value

  8.1       Custodian's name and address

                                                                Case title                                                  Court name and address
            Street                                                                                                          Name

                                                                Case number
            City                        State     Zip                                                                       Street

                                                                Date of order or assignment
                                                                                                                            City                              State       Zip



  Part 4:    Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before ling this case unless the aggregate value of the gifts to that recipient is
  less than $1,000
         None

   Recipient’s name and address                                 Description of the gifts or contributions                    Dates given                  Value

  9.1       Recipient's name


            Street


            City                        State     Zip


            Recipient’s relationship to debtor
Debtor    Century Paramus Realty, LLC______________________________________________                   Case number (if known) 20-12107________________________________________
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  Part 5:    Losses

  10. All losses from re, theft, or other casualty within 1 year before ling this case
         None

   Description of the property lost and how the loss           Amount of payments received for the loss                     Date of loss                Value of property lost
   occurred                                                    If you have received payments to cover the loss, for
                                                               example, from insurance, government
                                                               compensation, or tort liability, list the total received.
                                                               List unpaid claims on O cial Form 106A/B
                                                               (Schedule A/B: Assets – Real and Personal
                                                               Property).




  Part 6:    Certain Payments or Transfers

  11. Payments related to bankruptcy
  List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the ling of this case to another
  person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or ling a bankruptcy case.
         None

   Who was paid or who received the transfer?                  If not money, describe any property transferred              Dates                       Total amount or value

  11.1



            Email or website address


            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a bene ciary
  List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the ling of this case to a self-settled trust or
  similar device.
  Do not include transfers already listed on this statement.
         None

   Name of trust or device                                     Describe any property transferred                            Dates transfers were        Total amount or value
                                                                                                                            made

  12.1

            Trustee


  13. Transfers not already listed on this statement
  List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2 years before the
   ling of this case to another person, other than property transferred in the ordinary course of business or nancial affairs. Include both outright transfers and transfers made
  as security. Do not include gifts or transfers previously listed on this statement.
         None

   Who received transfer?                                      Description of property transferred or payments              Date transfer was           Total amount or value
                                                               received or debts paid in exchange                           made

  13.1




            Relationship to debtor
Debtor     Century Paramus Realty, LLC______________________________________________                        Case number (if known) 20-12107________________________________________
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  Part 7:      Previous Locations

  14. Previous addresses
  List all previous addresses used by the debtor within 3 years before ling this case and the dates the addresses were used.
         Does not apply

   Address                                                                                                            Dates of occupancy

  14.1       Street                                                                                                  From                              to


               City                                                 State             Zip



  Part 8:      Health Care Bankruptcies

  15. Health Care bankruptcies
  Is the debtor primarily engaged in offering services and facilities for:
         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to part 9.

         Yes. Fill in the information below.

   Facility name and address                                                       Nature of the business operation, including type of services the           If debtor provides
                                                                                   debtor provides                                                            meals and housing,
                                                                                                                                                              number of patients in
                                                                                                                                                              debtor's care

  15.1       Street

                                                                                   Location where patient records are maintained(if different from facility   How are records kept?
               City                              State       Zip                   address). If electronic, identify any service provider                     Check all that apply:
                                                                                                                                                                  Electronically

                                                                                                                                                                  Paper

  Part 9:      Personally Identi able Information

  16. Does the debtor collect and retain personally identi able information of customers?

         No.

         Yes. State the nature of the information collected and retained.     NAME, ADDRESS, EMAIL ADDRESS, TELEPHONE NUMBER, OR OTHER CONTACT
                                                                              INFORMATION, LOYALTY PROGRAM MEMBERSHIP INFORMATION, GENDER,
                                                                              BIRTHDAY, CONTACT PREFERENCES

                  Does the debtor have a privacy policy about that information?
                      No

                      Yes
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          Name
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  17. Within 6 years before ling this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or pro t-sharing plan made
  available by the debtor as an employee bene t?

         No. Go to Part 10.

         Yes. Does the debtor serve as plan administrator?

                      No. Go to Part 10.

                      Yes. Fill in below:

                  Name of plan                                                                      Employer identi cation number of the plan


                  Has the plan been terminated?
                      No

                      Yes

  Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed nancial accounts
  Within 1 year before ling this case, were any nancial accounts or instruments held in the debtor’s name, or for the debtor’s bene t, closed, sold, moved, or transferred?
  Include checking, savings, money market, or other nancial accounts; certi cates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
  associations, and other nancial institutions.
         None

   Financial institution name and address                                        Last 4        Type of account                Date account was            Last balance before
                                                                                 digits of                                    closed, sold, moved, or     closing or transfer
                                                                                 account                                      transferred
                                                                                 number

  18.1       Name                                                                                 Checking

                                                                                                  Savings
             Street
                                                                                                  Money market
             City                                   State     Zip                                 Brokerage

                                                                                                   Other




  19. Safe deposit boxes
  List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before ling this case.
         None

   Depository institution name and address                          Names of anyone with access to it           Description of the contents               Does debtor still have
                                                                                                                                                          it?

  19.1       Name                                                                                                                                           No
                                                                    Address
                                                                                                                                                            Yes
             Street


             City                           State    Zip
Debtor    Century Paramus Realty, LLC______________________________________________                                Case number (if known) 20-12107________________________________________
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  20. Off-premises storage
  List any property kept in storage units or warehouses within 1 year before ling this case. Do not include facilities that are in a part of a building in which the debtor does
  business.
         None

   Facility name and address                                             Names of anyone with access to it                  Description of the contents                        Does debtor still have
                                                                                                                                                                               it?

  20.1       Name                                                                                                                                                                 No
                                                                        Address
                                                                                                                                                                                  Yes
             Street


               City                        State      Zip



  Part 11:       Property the Debtor Holds or Controls that the Debtor Does Not Own

  21. Property held for another
  List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or rented
  property
         None

   Owner’s name and address                                              Location of the property                           Description of the property                        Value

  21.1




  Part 12:       Details About Environmental Information

  For the purpose of Part 12, the following de nitions apply:
           Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land, water,
               or any other medium).


               Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.

               Hazardous material means anything that an environmental law de nes as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

         No.

         Yes. Provide details below.


   Case title                                           Court or agency name and address                                    Nature of the case                                 Status of case

  22.1                                                  Name                                                                                                                       Pending
             Case Number
                                                                                                                                                                                   On appeal
                                                        Street
                                                                                                                                                                                   Concluded
                                                        City                                   State      Zip
Debtor     Century Paramus Realty, LLC______________________________________________              Case number (if known) 20-12107________________________________________
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  23. Has any governmental unit otherwise noti ed the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
          No

          Yes. Provide details below.

   Site name and address                        Governmental unit name and address                        Environmental law, if known                  Date of notice

  23.1         Name                            Name


               Street                          Street


               City            State    Zip     City                            State     Zip



  24. Has the debtor noti ed any governmental unit of any release of hazardous material?
          No

          Yes. Provide details below.

   Site name and address                        Governmental unit name and address                        Environmental law, if known                  Date of notice

  24.1         Name                            Name


               Street                          Street


               City            State    Zip     City                            State     Zip



  Part 13:        Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
  List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before ling this case. Include this information even if
  already listed in the Schedules.

          None


   Business name and address                                  Describe the nature of the business                        Employer Identi cation number
                                                                                                                         Do not include Social Security number or ITIN.

  25.1                                                                                                                  EIN

                                                                                                                        Dates business existed
                                                                                                                        From                         to



  26. Books, records, and nancial statements
  26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before ling this case.
          None

   Name and address                                                                                                      Dates of service

  26a.1                                                                                                                 From                         to
                  Norm Veit                                                                                             6/15/2019                    Current
                  22 Cortlandt St
                  New York, NY 10007


  26a.2                                                                                                                 From                         to
                  Mel Tucker                                                                                            8/14/2014                    6/13/2019
                  22 Cortlandt St
                  New York, NY 10007


  26a.3                                                                                                                 From                         to
                  Ezra Sultan                                                                                           6/29/1969                    Current
                  22 Cortlandt St
                  New York, NY 10007
Debtor     Century Paramus Realty, LLC______________________________________________               Case number (if known) 20-12107________________________________________
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  26b. List all rms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a nancial statement within 2 years before ling
  this case.
          None

   Name and address                                                                                                      Dates of service

  26b.1                                                                                                                 From                          to



  26c. List all rms or individuals who were in possession of the debtor’s books of account and records when this case is led.
          None

   Name and address                                                                                                      If any books of account and records are unavailable,
                                                                                                                         explain why

  26c.1
                  Berdon LLP
                  360 Madison Ave
                  New York, NY 10017

  26d. List all nancial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a nancial statement within 2 years before
   ling this case.
          None

   Name and address

  26d.1
                  Berdon LLP
                  360 Madison Ave
                  New York, NY 10017


  26d.2
                  JPMorgan Chase Bank, NA
                  131 South Dearborn
                  5th Floor
                  Chicago, IL 60603-5506


  27. Inventories
  Have any inventories of the debtor’s property been taken within 2 years before ling this case?
          No

          Yes. Give the details about the two most recent inventories.

   Name of the person who supervised the taking of the inventory                           Date of inventory             The dollar amount and basis (cost, market, or other
                                                                                                                         basis) of each inventory

  28. List the debtor’s o cers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the
  time of the ling of this case.
   Name and Address                                                                        Position and nature of any interest          % of interest, if any

  28.1                                                                                    CRO
                  Larry Mentzer
                  22 Cortlandt St
                  New York, NY 10007


  28.2                                                                                    CHRO
                  Nancy Straface
                  22 Cortlandt St.
                  New York, NY 10007


  28.3                                                                                    Director, Co-CEO
                  Raymond Gindi
                  1865 E. 8th Street
                  Brooklyn, NY 11223
Debtor    Century Paramus Realty, LLC______________________________________________             Case number (if known) 20-12107________________________________________
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  28.4                                                                                  CMKTO
                 Michael Kusterman
                 22 Cortlandt St
                 New York, NY 10007


  28.5                                                                                  CMO
                 Molly Taylor
                 22 Cortlandt St
                 New York, NY 10007


  28.6                                                                                  CLO
                 Bill Thayer
                 22 Cortlandt St
                 New York, NY 10007


  28.7                                                                                  Director, EVP, Chief Cultural O cer
                 Edward ‘Eddie’ Gindi
                 601 Avenue J
                 Brooklyn, NY 11230


  28.8                                                                                  CFO, CIO
                 Norm Veit
                 22 Cortlandt St
                 New York, NY 10007


  28.9                                                                                  Director, EVP
                 Isaac S. Gindi
                 380 Rector Street, #25J
                 New York, NY 10280


  28.10                                                                                 Independent Director
                 Lawrence Meyer
                 22 Cortlandt St
                 New York, NY 10007


  28.11                                                                                 CFO Emeritus
                 Ezra Sultan
                 22 Cortlandt St
                 New York, NY 10007


  28.12                                                                                 Owner                                      100%
                 L.I. 2000, Inc.
                 22 Cortlandt St
                 New York, NY 10007


  28.13                                                                                 Director, Co-CEO
                 Isaac A. ‘IG’ Gindi
                 1865 E. 8th Street
                 Brooklyn, NY 11223


  29. Within 1 year before the ling of this case, did the debtor have o cers, directors, managing members, general partners, members in control of the debtor, or
  shareholders in control of the debtor who no longer hold these positions?
         No

         Yes. Identify below.

   Name and Address                                                                      Position and nature of any interest        Period during which position or
                                                                                                                                    interest was held

  29.1                                                                                                                             From                 to
Debtor    Century Paramus Realty, LLC______________________________________________                Case number (if known) 20-12107________________________________________
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  30. Payments, distributions, or withdrawals credited or given to insiders
  Within 1 year before ling this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,
  stock redemptions, and options exercised?
         No

         Yes. Identify below.

   Name and address of recipient                                             Amount of money or description and           Dates                         Reason for providing
                                                                             value of property                                                          the value

  30.1



   Relationship To Debtor




  31.Within 6 years before ling this case, has the debtor been a member of any consolidated group for tax purposes?
         No

         Yes. Identify below.

   Name of the parent corporation                                                                                         Employer Identi cation number of the parent
                                                                                                                          corporation

  31.1                                                                                                                    EIN


  32.Within 6 years before ling this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No

         Yes. Identify below.

   Name of the pension fund                                                                                               Employer Identi cation number of the pension fund

  32.1                                                                                                                    EIN
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                                                                         Pg 13 of 13
Fill in this information to identify the case:

Debtor name: Century Paramus Realty, LLC

United States Bankruptcy Court for the: Southern District of New York
                                                                                                                                                               Check if this is an
Case number: 20-12107
                                                                                                                                                               amended ling




WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result
in nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on
01/25/2021



/s/ Norm Veit                                                                                Norm Veit

Signature of individual signing on behalf of debtor                                          Printed name

Chief Financial O cer & Chief Information O cer

Position or relationship to debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (O cial Form 207) attached?

     No

     Yes
